        Case 2:20-cv-01113-GJP Document 230 Filed 09/11/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 FEDERAL TRADE COMMISSION, et al.,                         CIVIL ACTION
                Plaintiffs,                                NO. 20-01113

                  v.

 THOMAS JEFFERSON UNIVERSITY, et
 al.
                Defendants.


                                         ORDER

       AND NOW, this 11th day of September, 2020, it is ORDERED that the

following motions are DENIED in accordance with and for the reasons stated in the

accompanying memorandum: ECF No. 138, 170, 175, 181 and 228.

       It is FURTHER ORDERED that, consistent with the parties’ joint letter of

September 9 (ECF 225) identifying the third-party documents they reasonably

anticipate using at the preliminary injunction hearing, the following motions are

DENIED AS MOOT: ECF 137, 139, 140, 141, 142, 143, 145, 148, 149, 150, 151, 152,

154, 155, 156, 160, 161, 162, 165, 167, 169, 170, 171, 172, 174, 175, 176, 177, 178, 179,

181, 182, 184, 193, and 194.

                                                        BY THE COURT:



                                                        ________________________
                                                        GERALD J. PAPPERT, J.
